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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

 RAFAELA ALDACO,                                 )
                                                 )
                Plaintiff,                       )
                                                 )
                v.                               ) Case No. 16 CV 5754
                                                 )
 RENTGROW, INC. d/b/a YARDI                      ) Judge Joan H. Lefkow
 RESIDENT SCREENING,                             )
                                                 )
                Defendant.                       )

                                            ORDER

       Rentgrow, Inc. d/b/a Yardi Resident Screening’s motion for finding of bad faith under 15
U.S.C. §§ 1681n(c) and 1681o(b) and for expenses and fees under 28 U.S.C. § 1927 (dkt. 68) is
denied. See statement.

                                         STATEMENT

I.     Background

        In 2015, Rafaela Aldaco applied for subsidized housing through the Fellowship Housing
Corporation (FHC). FHC sought to place Aldaco in a rental unit in Hoffman Estates, and the
building owner requested a background report from Yardi Resident Screening (YRS), a credit
reporting agency. After YRS accurately reported that Aldaco had pleaded guilty to battery in
1996, the owner refused to rent to her. When Aldaco asked why she was denied housing, the
owner gave her a phone number to contact YRS.

        Aldaco and an FHC employee together called YRS to investigate. The FHC employee
impersonated Aldaco on the call. When describing this call in discovery responses and in her
deposition, however, Aldaco often stated that she made the call. In her deposition, she also used
the pronoun “we” to describe who made the call. The YRS employee on the other end of the call
directed Aldaco to file a form dispute letter over email.

        Aldaco emailed YRS the form, claiming that the criminal record listed on her report did
not belong to her, as the 1996 incident was a domestic dispute that ended with her boyfriend, not
her, being convicted of battery. But YRS’s investigation revealed that Aldaco had, in fact,
pleaded guilty to battery, and she was sentenced to supervision that she successfully completed.
YRS informed her that it would not change its report. Aldaco, still not believing that she had
been convicted of a crime, went to the Cook County courthouse to obtain a certificate of
disposition showing the details of her 1996 battery case. She then had the record expunged.
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       FHC put Aldaco in touch with plaintiff’s counsel here, who concluded that although the
criminal record was Aldaco’s, it was not a “conviction” that could be reported. Under the Fair
Credit Reporting Act (FCRA), criminal history older than seven years cannot be reported, except
for convictions, which can be reported indeterminately. 15 U.S.C. §§ 1681c(a)(2), (5). Aldaco’s
counsel took the position that because Illinois law does not treat successful completion of court
supervision as a “conviction,” see 730 Ill. Comp. Stat. 5/5-6-3.1(f), neither does the FCRA, 15
U.S.C. § 1681 et seq.

        Aldaco sued YRS, claiming that with this understanding of the word “conviction,” YRS
had either negligently or willfully violated the FCRA by not maintaining procedures to prevent
improper reports and by failing to properly reinvestigate its report. She sought both statutory and
actual damages, stemming from her loss of the housing opportunity in Hoffman Estates, loss of
wages when she missed work after her housing fell through, and emotional damages. Aldaco
disclosed nine witnesses who could corroborate her emotional damages. She testified at her
deposition that she had sought medical care for some of the physiological effects of her
emotional injuries but could not remember who gave her medical care. She never produced
medical records and claimed in her written discovery responses that there were none.

       This court granted summary judgment to YRS, holding that “conviction” under the
FCRA does not incorporate state-law definitions and instead has freestanding meaning: “act or
process of judicially finding someone guilty of a crime; the state of having been proved guilty”
(Dkt. 66 at 4 (quoting Conviction, Black’s Law Dictionary (10th ed. 2014)).) Because a court
accepted Aldaco’s guilty plea, thereby adjudging her guilty of a crime, her 1996 battery was a
“conviction,” and YRS did not violate the FCRA. 1

        YRS now moves for a finding that this action was filed in bad faith under 15 U.S.C.
§§ 1681n(c) and 1681o(b), which would entitle it to attorneys’ fees. (Dkt. 68.) YRS argues that
Aldaco’s discovery misconduct is proof of her bad faith but in footnotes to its motion and reply
claims that discovery misconduct is also sanctionable under 28 U.S.C. § 1927. (Id. at 2 n.2.)

II.     Analysis

        A.        15 U.S.C. §§ 1681n(c), 1681o(b)

       Both 15 U.S.C. § 1681n(c) (for claims of willful FCRA violations) and § 1681o(b)
(negligent violations) provide that on

        a finding by the court that an unsuccessful pleading, motion, or other paper filed
        in connection with an action under this section was filed in bad faith or for
        purposes of harassment, the court shall award to the prevailing party attorney’s
        fees reasonable in relation to the work expended in responding to the pleading,
        motion, or other paper.

“[B]ad faith . . . requires a showing either that the party subjectively acted in bad faith—knowing
that [s]he had no viable claim—or that [s]he filed an action or paper that was frivolous,
unreasonable, or without foundation.” Ryan v. Trans Union Corp., No. 99 C 216, 2001 WL
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            Appeal of this court’s judgment remains pending.
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185182, at *5 (N.D. Ill. Feb, 26, 2001) (citing Christianburg Garment Co. v. EEOC, 434 U.S.
412, 421 (1978)). Bad faith is measured from the time of filing; plaintiffs have no obligation to
withdraw filings that are later discovered to contain incorrect information. Id. at *6.

        The record reveals that Aldaco’s claim that she had never been convicted of a crime was
born of confusion, not bad faith. Aldaco was convicted of battery as a teenager in connection
with a domestic dispute; she maintains that her then-boyfriend was the aggressor. His abuse led
to several court proceedings, and it is no stretch to believe that, as a layperson, Aldaco could
misunderstand or misremember the legal import of court proceedings twenty years past. (See dkt.
69-1 at 179:2–4 (“I remember taking him to jail because he hit me and me coming in to testify
about that, but I never remember any conviction . . . .”)); cf. Ryan, 2001 WL 185182, at *5
(giving “benefit of the doubt” that plaintiff acted in good faith when he made demonstrably
inaccurate statement about his household finances). Of course, her attorneys knew better by the
time the complaint was filed, but the complaint did not adopt Aldaco’s incorrect belief that she
had no 1996 battery charge; it instead took the reasonable but unsuccessful legal position that the
disposition was not a “conviction” under the FCRA. See Ryan, 2001 WL 185182, at *6 (“Though
the Court rejected this argument on the merits, it certainly was not legally frivolous.”).

        YRS next argues that Aldaco frivolously claimed that the FCRA required YRS to
investigate whether Aldaco was “convicted” because she disputed whether the criminal record
belonged to her. The FCRA only requires reinvestigation of what the consumer disputes. Westra
v. Credit Control of Pinellas, 409 F.3d 825, 827 (7th Cir. 2005); Oses v. Corelogic Saferent,
LLC, 171 F. Supp. 3d 775, 782 (N.D. Ill. 2016). But Westra and Oses did not make Aldaco’s
claim frivolous. In Westra, only the name on the debt account was disputed, which could not
have alerted the investigator to look for fraud. Here, on the other hand, the investigation into who
was convicted would show whether there was a conviction; thus, by investigating what was
disputed, YRS could have discovered the purported error alleged in the complaint. Cf. Oses, 171
F. Supp. 3d at 782 (credit reporting agency discovered and corrected error unrelated to dispute in
its reinvestigation). Oses, which held that disputing that a criminal record belongs to the
consumer does not require reinvestigation into any other aspect of the criminal record, was
directly on point but not binding. Gould v. Bowyer, 11 F.3d 82, 84 (7th Cir. 1993) (“A district
court decision binds no judge in any other case, save to the extent that doctrines of preclusion
(not stare decisis) apply.”). Though Oses strikes this court as well reasoned and correctly
decided, it does not demonstrate that Aldaco’s complaint was “frivolous, unreasonable, or
without foundation,” as opposed to unlikely to succeed. Ryan, 2001 WL 185182, at *5.

        Finally, YRS emphasizes that Aldaco did not have evidence of a willful violation when
she filed her complaint or when she responded to the motion for summary judgment. Willfulness
under the FCRA encompasses reckless misinterpretations of the statute’s obligations, such that
the defendant “ran a risk of violating the law substantially greater than the risk associated with a
reading that was merely careless.” Safeco Ins. Co. of Am. v. Burr, 551 U.S. 47, 69 (2007).
Undoubtedly, because YRS’s reading of the FCRA was correct, it was not reckless. But
§ 1681n(c) does not impose sanctions on every plaintiff who alleges a willful violation of the
FCRA but does not ultimately persuade the court of her interpretation. See Edwards v. Equifax
Information Servs., LLC, No. 1:17-cv-03096-RLM-MPB, 2018 WL 1748132, at *7–10 (S.D. Ind.
Mar. 13, 2018) (finding no bad faith in willful FCRA violation claim based on debatable
statutory interpretation). Aldaco combined the FCRA’s prohibition on reporting old criminal

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reports other than convictions and the Illinois law that Aldaco’s sentence was not a conviction
and alleged in good faith that YRS’s contrary interpretation was reckless. Aldaco was wrong but
not frivolous.

        The motion for finding of bad faith under 15 U.S.C. §§ 1681n(c) and 1681o(b) is denied.

        B.      28 U.S.C. § 1927

       “An attorney . . . who so multiplies the proceedings in any case unreasonably and
vexatiously may be required by the court to satisfy personally the excess costs, expenses, and
attorneys’ fees reasonably incurred because of such conduct.” 28 U.S.C. § 1927. YRS argues that
Aldaco’s counsel unreasonably and vexatiously multiplied proceedings through discovery
misconduct. No conduct YRS describes merits sanctions under § 1927.

        First, YRS argues that Aldaco’s counsel disclosed too many potential witnesses to
Aldaco’s emotional distress after her housing application was rejected. Nine people observed
Aldaco’s distress, and Aldaco’s counsel disclosed their names, as it should have done under the
rules of discovery. There is nothing unreasonable or vexatious about that. Counsel’s refusal to
pare down the list was reasonable considering the Seventh Circuit’s high bar for proving
emotional damages. See Wantz v. Experian Info. Solutions, 386 F.3d 829, 834 (7th Cir. 2004)
(establishing heightened standard for proving emotional damages in FCRA claims), abrogated in
other part by Safeco, 551 U.S. at 56 n.8.

        Second, YRS argues that counsel multiplied proceedings by not disclosing Aldaco’s
medical records. Aldaco’s responses to interrogatories denied that she received any medical
treatment for her emotional distress, though she later testified at her deposition that she received
treatment. She was, however, unable to name her treatment providers or even the most basic
information about them such as whether they were in the suburbs or the city. When YRS
followed up with Aldaco’s counsel to demand treatment information, Aldaco’s counsel explained
that they would not be seeking damages based on medical treatment. Because their client
claimed but could not prove that she incurred medical bills, counsel reasonably chose to disclaim
those damages. This choice minimized, not multiplied proceedings.

         Third, YRS cites several mundane discovery disputes. Aldaco was late with her discovery
responses and too insistent that YRS timely serve its own responses. Delays and discourteous
lack of reciprocity are not commendable, but they are not vexatious. Aldaco’s counsel demanded
documents in .pdf form on the eve of a deposition, which is neither unreasonable or vexatious.
Finally, Aldaco canceled a deposition because she had to work but then called in sick to work.
To accept this as malicious, the court must assume that Aldaco took a sick day because she was
truant, rather than because she was sick. The court will not so assume.

       Fourth, YRS argues that Aldaco falsely claimed to have called YRS. Aldaco does not
seem to dispute that an FHC employee was impersonating her on the phone with YRS. 2 That is

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         YRS attaches an audio recording of the call with its motion, but the court cannot independently
confirm the claim because it does not know either Aldaco or the FHC employee’s voice. The court
accepts YRS’s representation and Aldaco’s admission that an FHC employee impersonated Aldaco.


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not automatically nefarious; FHC provides wide-ranging housing assistance, and from context, it
appears that the FHC employee impersonated Aldaco to help her navigate the byzantine dispute
process. The recording and Aldaco’s discovery responses suggest that Aldaco was at least aware
of the contents of the call and was likely listening in. She could thus earnestly say, for instance,
that YRS told “her” to e-mail a form. Aldaco should, however, have made the nature of the call
clear in her discovery responses. Although she sometimes suggested in her deposition that she
and another person made the phone call (e.g., dkt. 69-1 at 156:6 (“We called the number . . . .”)),
she repeatedly stated in written discovery that she called YRS. (E.g., dkt. 69-3 ¶ 2 (“Plaintiff
called Yardi . . . .”).)

        The court does not condone Aldaco’s lack of candor or her attorneys’ failure to amend
her discovery responses, but YRS argues primarily that discovery misconduct is evidence of bad
faith and thus has not shown an unreasonable or vexatious multiplication of the proceedings.
There is no evidence, for instance, that YRS had to take additional depositions or serve
additional written discovery to learn about the contents of the phone call. Further, the call was
not material to the dispute and did not feature in YRS’s summary judgment motion. Aldaco
appears to have been aware of the contents of the call, and YRS was likely going to depose both
Aldaco and the FHC employee (who had critical information about Aldaco’s damages) anyhow.
As such, YRS has not proven that it is entitled to relief under § 1927.




Date: March 8, 2019                                   _______________________________
                                                      U.S. District Judge Joan H. Lefkow




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